    Case 2:13-cv-05114-SSV-JCW Document 142 Filed 06/15/16 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

                                                   CIVIL ACTION
IN THE MATTER OF
MARQUETTE
TRANSPORTATION COMPANY
GULF-INLAND, LLC, AS                               NO. 13-5114
OWNER AND OPERATOR OF
THE TOWING VESSEL FATHER
SEELOS, ETC.
                                                   SECTION: R

                                  ORDER

     This case arises out of a July 7, 2013 collision between the FATHER

SEELOS, a towing vessel owned and operated by Marquette Transportation

Company Gulf-Inland, LLC's ("Marquette"), and a fishing vessel owned by

John Tran, who was killed in the collision. Marquette seeks exoneration from

or limitation of liability under 46 U.S.C. § 30501, et seq., while claimants

Susan Tran (individually and as a personal representative of the decedent,

John Tran, on behalf of herself and her minor child, Marsha Tran), Quoc Tran,

Jeanie Tran, and Nancy Pham assert claims against Marquette under general

maritime law and the survival and wrongful death laws of Texas. Trial is

currently scheduled for July 11, 2016.
    Case 2:13-cv-05114-SSV-JCW Document 142 Filed 06/15/16 Page 2 of 2




      On April 25, 2016, Marquette filed a motion for partial summary

judgment.1 Marquette argued that this case is governed exclusively by federal

maritime law and that the Tran claimants' damages claims under Texas's

wrongful death and survival laws must therefore be dismissed. On April 26,

2016, the Court ruled that because John Tran was a nonseafarer killed in

Texas's territorial waters, the Tran claimants are permitted to seek damages

under that state's wrongful death and survival statutes.2 In light of this ruling,

and for the reasons explained in the Court's order, Marquette's motion for

partial summary judgment is DENIED.

      On May 5, 2016, Marquette moved the Court to conduct a status

conference for the purpose of rescheduling the then-existing trial date of June

13, 2016.3 After consulting with counsel for all parties, the Court continued

trial to the mutually-agreeable date of July 11, 2016. Therefore, Marquette's

motion for a status conference is DENIED AS MOOT.



              New Orleans, Louisiana, this ____
                                            15th day of June, 2016.

                   ________________________________
                             SARAH S. VANCE
                      UNITED STATES DISTRICT JUDGE


      1
          R. Doc. 121.
      2
          R. Doc. 127.
      3
          R. Doc. 139.

                                        2
